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                                                                                           2017 May-03 PM 03:19
                                                                                           U.S. DISTRICT COURT
                                                                                               N.D. OF ALABAMA


                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                            NORTHEASTERN DIVISION


    Cornerstone Word of Life Church,               Case No.
    Inc.,                                          _______________________

             Plaintiff,

    v.                                             Notice of Removal

    Metl-Span, a division of NCI
    Group, Inc; Mid-West Steel
    Building Company, a division of
    NCI Group, Inc.,

             Defendants.


         Defendant NCI Group, Inc.1 hereby gives notice of the removal of this action

from the Circuit Court of Madison County, Alabama to the United States District

Court for the Northern District of Alabama, Northeastern Division, under 28 U.S.C.

§§ 1441 and 1446. In support, NCI states as follows:

         A defendant may remove “any . . . civil action brought in a State court of which

the district courts of the United States have original jurisdiction . . . to the district


1
 Although Cornerstone has styled its complaint in state court as against both Metl-Span and Mid-
West Steel Building Company, it acknowledges that both defendants are divisions of the same
corporation, NCI Group, Inc. NCI Group, Inc., then, is the real entity in interest. See Burns &
Russell Co. of Baltimore v. Oldcastle, Inc., 166 F. Supp. 2d 432, 440 (D. Md. 2001)
(unincorporated divisions of company lack capacity to be sued); Equal Employment Opportunity
Comm’n v. St. Francis Xavier Parochial School, 77 F. Supp. 2d 71, 75–76 (D.D.C. 1999) (same);
Salzstein v. Bekins Van Lines, Inc., 747 F. Supp. 1282 n.1 (N.D. Ill. 1990) (“by definition a
corporate division is not a separate legal entity and hence is not suable”).
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court of the United States for the district and division embracing the place where

such action is pending” within thirty days of service of “a copy of the initial pleading

setting forth the claim for relief upon which such action or proceeding is based[.]”

28 U.S.C. §§ 1441(a), 1446(b).2 Original jurisdiction exists in this matter under the

diversity statute, 28 U.S.C. § 1332. 28 U.S.C. § 1332(a)(1) provides that “[t]he

district courts shall have original jurisdiction of all civil actions where the matter in

controversy exceeds the sum or value of $75,000, exclusive of interests and costs

and is between . . . citizens of different states[.]” NCI and Cornerstone are citizens

of different states, and the amount in controversy in the State court action exceeds

$75,000.00.

    I.   NCI and Cornerstone Are Citizens of Different States.
     Diversity jurisdiction under 28 U.S.C. § 1332 requires “complete diversity; every

plaintiff must be diverse from every defendant.” Triggs v. John Crump Toyota, Inc.,

154 F.3d 1284, 1287 (11th Cir. 1998) (citing Tapscott v. MS Dealer Serv. Corp., 77

F.3d 1353, 1355 (11th Cir. 1996). For purposes of the diversity statute, a corporation

is a citizen of both its state of incorporation and the state where it has its principal

place of business. 28 U.S.C. § 1332(c)(1). A corporation’s principal place of



2
 NCI was served with the complaint in this matter on April 3, 2017. (See Proof of Service, Ex.
1).


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business is its “nerve center”—the “place where a corporation’s officers direct,

control, and coordinate the corporation’s activities.” Hertz Corp. v. Friend, 559 U.S.

77, 92–93 (2010).

    According to the allegations of the Complaint (“Complaint”, Ex. 2), Cornerstone

is incorporated in the State of Alabama, and has its principal place of business in

Madison, Alabama. (Complaint at ¶ 1). NCI is incorporated under the laws of the

State of Nevada, and under the “nerve center” test of Hertz Corp. has its principal

place of business in Houston, Texas. Therefore, complete diversity of citizenship

exists between NCI and Cornerstone, and the Complaint meets the first test for

diversity jurisdiction under § 1332(a).

II.     The Amount in Controversy Exceeds $75,000.
    In “a [removal] case that involves a complaint for unspecified damages, the

defendant must establish jurisdiction by a preponderance of the evidence.” Lowery

v. Ala. Power Co., 483 F.3d 1183, 1211 (11th Cir. 2007). “[C]ourts may use their

judicial experience and common sense in determining whether the case stated in a

complaint meets federal jurisdictional requirements.” Roe v. Michelin N. Am., Inc.,

613 F.3d 1058, 1062 (11th Cir. 2010). A removing defendant may also submit

affidavits, declarations, or other evidence to show a jurisdictional basis for removal.

Preka v. Kolter City Plaza II, Inc., 608 F.3d 744, 745 (11th Cir. 2010). When



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“determining the jurisdictional amount in controversy in diversity cases, punitive

damages must be considered . . . unless it is apparent to a legal certainty that such

cannot be recovered.” Holley Equip. Co. v. Credit Alliance Corp., 821 F.2d 1531,

1535 (11th Cir. 1987) (internal citations omitted); see also Bell v. Preferred Life

Assurance Soc., 320 U.S. 238, 240 (1943).

    Cornerstone predicates its claims in this matter on the alleged breach of a contract

to sell construction materials (the “Contract”, Ex. 3)—namely, certain panels used

in constructing a church structure (the “Panels”)—and alleged fraud in the

procurement and performance of that contract. In its Complaint, Cornerstone does

not reveal what it expects as damages in this matter, other than that it seeks

“judgment against Defendants to be determined by a jury, for all incidental,

consequential, and compensatory damages, attorneys’ fees, and costs[;]” or

“judgment against Defendants to be determined by a jury, for all incidental,

consequential, and [sic] compensatory, and punitive damages, attorneys’ fees, and

costs.” (Compl. at 5–11 (unnumbered ad damnum clauses)).

    Although the Complaint does not expressly state Cornerstone’s alleged damages,

that it is seeking damages greater than $75,000.00 is indisputable. The face value of

the Contract itself is over $300,000.00. NCI and Cornerstone are currently involved

in litigation in the District Court of Harris County, Texas, Cause No. 2016-75388


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(the “Texas Litigation”). In the Texas Litigation, NCI has asserted that Cornerstone

has failed to pay it $63,578.00 on an invoice related to another phase of the church

construction. (See Petition at ¶ 10, Ex. 4). In that same case, Cornerstone asserts that

it has refused to pay this amount as a partial offset of its claims related to the Panels.

(Motion to Dismiss Texas Litigation at ¶¶ 5, 14, Ex. 5). In other words, Cornerstone

has asserted in another proceeding that its compensatory damages alone in this case

exceed $63,578.00.

    Cornerstone explicitly asserts its claims in this case under Alabama law. (See

Compl. at ¶¶ 26, 33).3 Under Alabama law, a jury may award punitive damages for

fraud, which Cornerstone has pleaded as a cause of action in this matter. (See Ala.

Code § 6-11-20(a); Compl. at ¶¶ 35–46; 52–56). Alabama law further allows a jury

to award punitive damages of up to three times of the compensatory damages award.

See Ala. Code § 6-11-21(a). From their pleadings and papers in the Texas Litigation,

Cornerstone is asserting that their compensatory damages related to the Panels is at

least $63,578.00. Assuming Cornerstone were to prevail on its fraud claims, it could

recover $254,313.32 in compensatory and punitive damages, exceeding 28 U.S.C.

§ 1332’s jurisdictional threshold by a significant amount.


3
 NCI does not concede that Alabama law provides the relevant rule of decision in this case, and
only notes that Cornerstone has pleaded Alabama law for purposes of determining the amount in
controversy.


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III.    The United States District Court for the Northern District of Alabama,
        Northeastern Division is the Proper Venue for Removal.
    A defendant removing a case to federal court must remove the case to “the district

court of the United States for the district and division embracing the place where

such action is pending.” This case is currently pending in the Circuit Court of

Madison County, Alabama. Madison County lies within the Northeastern Division

of the Northern District of Alabama. Therefore, the United States District Court for

the Northern District of Alabama, Northeastern Division is the proper venue for

removal of this action.4

IV.     Removal is Timely.
    NCI received service of the Complaint on April 3, 2017. (See Proof of Service).

Under the time calculation of Federal Rule of Civil Procedure 6(a)(1)(A), the

thirtieth day from April 3, 2017 is May 3, 2017. This removal is filed on May 3,

2017, so is timely under 28 U.S.C. § 1446(b).

                                                  Conclusion

    This matter falls within the Court’s original jurisdiction under 28 U.S.C. § 1332,

as the parties are completely diverse and the amount in controversy is more than



4
  NCI notes that the Contract contains a forum-selection clause and that, while it concedes venue
is proper in this Court for purposes of the removal statute, 28 U.S.C. § 1441, it reserves the right
to move for transfer of venue to the United States District Court for the Southern District of Texas
under 28 U.S.C. § 1404(a). See Hollis v. Fla. State Univ., 259 F.3d 1295, 1300 (11th Cir. 2001).


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$75,000.00. Removal is timely as filed within 30 days of service of the initial

pleading. As NCI is the sole party in interest in this case, no notice to co-defendants

is necessary. Therefore, NCI prays that this action be removed to the United States

District Court for the Northern District of Alabama, Northeastern Division.

    Respectfully submitted this 3rd day of May 2017.


                                                           /s/ Charles A. Ray, IV
                                                           Charles A. Ray, IV
                                                           Michael W. Rich
                                                           Attorneys for the Defendants
 Of Counsel
 Lanier Ford Shaver & Payne, P.C.
 2101 West Clinton Avenue, Suite 102
 Huntsville, Alabama 35805
 T: (256) 535-1100
 F: (256) 533-9322
 car@lanierford.com
 mwr@lanierford.com




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                                        Certificate of Service

       I hereby certify that a true and accurate copy of the foregoing was filed
electronically with the Court’s CM/ECF system on this the 3rd day of May 2017. I
further certify that I have caused a copy of the same to be sent through the United
States Mail, First Class postage prepaid, to counsel for the plaintiff at:


        Robert R. Baugh                                    Benjamin R. Little
        Jaime C. Erdberg                                   Sirote & Permutt, P.C.
        Sirote & Permutt, P.C.                             305 Church Street Southwest, Suite
        2311 Highland Avenue South                         800
        Post Office Box 55887                              Post Office Box 18248
        Birmingham, Alabama 35255                          Huntsville, Alabama 35804
        rbaugh@sirote.com                                  blittle@sirote.com
        jerdberg@sirote.com



                                                           /s/ Charles A. Ray, IV
                                                           Of Counsel




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